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                     UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                          :     CHAPTER 13
                                :
DIANE F. SIPE                   :
                                :
            DEBTOR              :     NO. 15-16498 (AMC)

                      SECOND AMENDED CHAPTER 13 PLAN

     The petitioner(s), herein, propose the following Plan under
Chapter 13 of the U.S. Bankruptcy Code.

A.   The future earnings or income of the Debtor(s) as may be
necessary for the execution of this Plan are submitted to the
control of the Standing Trustee, the sum of
      $2,430.00 for the first 6 months (Total); then
      $ 468.00 per month for 30 months.

B. From the payments so received, the Standing Trustee shall make
distributions in the following order of payment:

     1.    To the Standing Trustee, his costs, expenses                       and
commissions in accordance with certain statutes, then

     2. To the Attorney for the Debtor(s), the sum of $2,000.00
or such sum as is allowed by the Court, upon application duly made
and order entered, then

     3. For or on account of administration expenses provided for
under the Code or allowed by the Court, then

     4. To the Priority Creditors of the Debtor(s), full payment,
in deferred cash payments, of all claims entitled to priority
under Section 507 of the U.S. Bankruptcy Code.

      5.   To the secured creditors of the Debtor(s), as follows:

          a) To the following secured creditors, the amount
necessary to pay, in full, all ARREARAGES on mortgages or secured
obligations on claims filed and allowed for the purpose of CURING
DEFAULT on said obligations.     These obligations are reinstated
under the terms of the original contract.         Regular monthly
payments are to be paid directly to the creditors. The claims are
follows:

               i)    Montgomery County Tax Claim Bureau (County,
municipal and school tax): $12,807.00 or as proved and allowed.
This figure includes statutory interest totaling $1,619.77.
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          b) To the following secured creditors who shall be
satisfied entirely through this Plan.    These creditors SHALL NOT
receive regular monthly payments from the Debtor(s):
      NONE

           c) To the following secured creditor, payments to whom
are current and to whom Debtor shall continue to pay outside of
this Plan:

                    i)    TD Bank (Home equity line of credit)
                    ii)   Wells Fargo Bank, N.A. (Home equity line of
                          credit)

     6.   To    all unsecured creditors, including those creditors
whose claims,   in part, are to be treated as unsecured claims under
the provision   of Code Section 1325(b), an amount equal to the pro
rata share of   their claims as filed and allowed.

C.   The     Debtor(s)    hereby    proposes   SURRENDER    of   collateral    as
follows:
      NONE

D.    The    following     executory    contracts     of   the   Debtor(s)    are
REJECTED:
      NONE

E.    The following executory contracts shall be paid in full
through the Debtor(s) Plan according to the original terms of said
contract:
      NONE

F.   Title to Debtor(s)' property shall revest in Debtor(s) upon
confirmation of the Plan or upon dismissal of the case after
confirmation or upon closing of the case.




                                            /s/ David B. Spitofsky
                                            Attorney for Debtor
